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11   Attorneys for AEG Facilities, Inc.
12
13
                                  UNITED STATES BANKRUPTCY COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
15
16    In Re                                                  CASE NO. 08-31002
17
             BDB MANAGEMENT III, LLC                         Chapter 11
18
                                                             AMENDED REQUEST FOR SPECIAL
19                                                           NOTICE AND INCLUSION ON MASTER
20                                                           MAILING LIST

21
22
23               PLEASE TAKE NOTICE that Holme Roberts & Owen, on behalf of AEG Facilities, Inc.
24   (“AEG”), a party in interest, in the above-captioned Chapter 11 case, hereby amends its request that
25   all notices given or required to be given in this case to creditors, any creditors, committee, or any
26   other party in interest (Bankruptcy Rules 2002(a), (b), (c) and (f) and Bankruptcy Rule 9007),
27   whether sent by the Court, the debtor, any trustee, or any other party in this case, and all papers
28
                                                          1
                                           Amended Request for Special Notice
                                          In re BDB MANAGEMENT III, LLC
                                                  Case No. 08-31002
     #38302 v2
     Case: 08-31002         Doc# 50    Filed: 07/14/08      Entered: 07/14/08 18:18:12       Page 1 of 2
 1   served or required to be served in connection with any such matter be served on AEG and Holme
 2   Roberts & Owen, attorneys for AEG, at the address listed below and that, pursuant to Bankruptcy
 3   rules 2002(g) and 9007, the following be added to the Court’s master mailing list:
 4                      Meryl Macklin, Esq.
                        Holme Roberts & Owen, LLP
 5                      560 Mission Street, 25th Floor
 6                      San Francisco, CA 94105
                        meryl.macklin@hro.com
 7
                 PLEASE TAKE FURTHER NOTICE that the foregoing request includes all notices and
 8
     papers referred to in the Bankruptcy Rules and additionally includes, without limitation, notices of
 9
     any application, complaint dismissal, hearing, motion, pleading, plan, disclosure statement or
10
     request, formal or informal, whether conveyed by mail, telephone, facsimile or otherwise.
11
                 Neither this Notice of Appearance nor any subsequent appearance, pleading, claim or suit is
12
     intended to waive any rights including: (i) AEG’s right to have final orders in non-core matters
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     entered only after de novo review by a district court judge; (ii) AEG’s right to a jury trial in any
14
     proceeding; (iii) AEG’s right to have the reference withdrawn by the District Court in any matter
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     subject to mandatory or discretionary withdrawal or abstention; or (iv) any other rights, claims,
16
     actions, defenses, reclamations, setoffs, or recoupments to which AEG is or may be entitled under
17
     any agreements, in law or in equity, all of which rights, claims, actions, defenses, reclamations,
18
     setoffs, and recoupments AEG expressly reserves. AEG does not, by filing this Request, submit to
19
     the jurisdiction of this Court, or any other Court, in this case.
20
     Dated: July 14, 2008
21                                                       HOLME ROBERTS & OWEN LLP

22                                                       By: Meryl Macklin
23                                                           Meryl Macklin
                                                             Attorneys for AEG Facilities, Inc.
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                                                           2
                                            Amended Request for Special Notice
                                           In re BDB MANAGEMENT III, LLC
                                                   Case No. 08-31002
     #38302 v2
     Case: 08-31002          Doc# 50     Filed: 07/14/08      Entered: 07/14/08 18:18:12      Page 2 of 2
